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                                     EXHIBIT A
                                      (PII LIST)




{1368.002-W0076811.}
4873-9485-3815 v.2
                          Case 22-11068-JTD               Doc 23137-1          Filed 08/16/24          Page 2 of 17
                                             FTX Trading – Redacted Key Parties in Interest 1

    5% or More Equity Holders                                                 Fidelity Bank (Bahamas)
    Edward Moncada                                                            Garanti BBVA
    Nishad Singh                                                              Goldfields Money
    Name On File                                                              HDFC Bank
    Samuel Bankman-Fried                                                      HSBC Bank
    Zixiao Wang                                                               Interactive Brokers
    Ad Hoc Committee (Non US Customers of FTX.com)                            JPMorgan Chase Bank, N.A.
    Eversheds Sutherland (Us) LLP                                             Jtrust Bank
    Morris, Nichols, Arsht & Tunnell LLP                                      Klarpay
    Bankruptcy Judges                                                         LendingClub
    Ashely M. Chan                                                            Maerki Baumann & Co. AG
    Brendan L. Shannon                                                        Moneytech
    Craig T. Goldblatt                                                        Moonstone Bank
    John T. Dorsey                                                            Morgan Stanley
    Karen B. Owens                                                            MUFG Bank, LTD.
    Kate Stickles                                                             National Australia Bank
    Laurie Selber Silverstein                                                 Nium
    Mary F. Walrath                                                           Nuvei
    Una O'Boyle (Clerk of Court)                                              Octabase
    Bankruptcy Professionals                                                  Omipay / Cuscal
    Ernst & Young                                                             PayPay Bank
    Quinn Emanuel Urquhart & Sullivan, LLP                                    Paysafe
    AlixPartners, LLP                                                         Prime Trust LLC
    Alvarez & Marsal North America, LLC                                       Rakuten Bank
    Kroll Restructuring Administration                                        RJ O'Brien
    Landis Rath & Cobb LLP                                                    SBI Sumishin Net Bank Ltd.
    Perella Weinberg Partners                                                 Signature Bank
    Sullivan & Cromwell LLP                                                   Signet
    Banks/Lender/UCC Lien Parties/Administrative Agents                       Silicon Valley Bank
    AKBANK                                                                    Silvergate Bank
    Apple Business                                                            Siraat Banksai
    Bank of America                                                           Standford Credit Union
    Bank of Cyprus                                                            Strait X
    BCB Bank                                                                  Stripe
    BMO Harris Bank, N.A.                                                     Sumitomo Mitsui Banking Corporation (SMBC)
    Circle Internet Financial, Inc.                                           Swapforex
    Commercial Bank of Dubai                                                  Tokyo Star Bank
    Commerical Bank of Vietnam                                                Transactive
    Customers Bank                                                            Transfero
    DBS Bank Limited                                                          Turicum
    Deltec                                                                    Vakifbank
    ED&F Man Holdings Inc.                                                    Volksbank Bayern Mitte eG
    Emirate NBD Bank                                                          Washington Business Bank
    Equity Bank                                                               Wells Fargo
    Etana                                                                     Western Alliance
    Eurobank                                                                  Zand Bank
    Evolve Bank and Trust                                                     Contract Counter-Parties
    Far Eastern Int'l Bank                                                    AC Revocable Trust
    Fibabanka                                                                 Adresana Limited


1
 Names of customers are redacted in accordance with the Fourth Order Authorizing the Movants to Redact or Withhold Certain Confidential Information
of Customers [D.I. 16165]. An unredacted version of the Key Parties in Interest List is filed under seal at D.I. 288.

{1368.002-W0069962.}                                                 1
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AIM Sports, LLC                                          Name On File
Name On File                                             Larnabell Enterprises Limited
Name On File                                             Laura Larissa Hanna
Name On File                                             Ledger SAS
Alpaca Crypto LLC                                        Lightspeed Management Company, LLC
AlteumX International S.A.                               Lincoln Holdings LLC DBA Monumental Sports & Entertainment
Name On File                                             Lorem Ipsum UG
Name On File                                             Name On File
Name On File                                             Name On File
Name On File                                             Major League Baseball Clubs
Barstool Sports Inc.                                     Major League Baseball Properties, Inc
Billboard Media, LLC                                     Mark Khalil
Binance Capital Management Co. Ltd.                      Medium Rare Live, LLC
BitGo                                                    Meow Technologies Inc.
BITOCTO                                                  Mercedes-Benz Grand Prix Limited
BlockFi Inc.                                             Name On File
Brandon Williams                                         MLB Advanced Media, L.P
Brave Software International SEZC                        MMBOC, LLC
Name On File                                             MPG Live Ltd
Cal Athletics                                            Multicoin Capital
Chainalysis                                              Nardello & Co. LLC
Coachella Music Festival, LLC                            Naomi Osaka
David Ortiz                                              O’Leary Productions Inc.
David Ortiz Children’s Fund                              Office of the Commissioner of Baseball
Name On File                                             Paradigm
Diego Perez de Ayala                                     Patrick Gruhn
Digital Assets DA AG                                     Paul Forest
Digital Finance Group Company                            Paxos Trust Company, LLC
Dolphin Entertainment, Inc.                              Name On File
Name On File                                             Play Magnus Group
Elvia Delgadillo                                         PointUp Inc.
Exodus Movement, Inc.                                    Proper Trust AG
Fortune Cookie                                           PT Datindo Infonet Prima
FOX SPORTS SUN, LLC                                      Race Capital
Name On File                                             Radegen Sports Management LLC
FTI Consulting, Inc.                                     Rebecca Lowe
Furia ESports LLC                                        Reddit, Inc.
Galois Capital                                           Ribbit Capital
Gisele Caroline Bündchen                                 Rick Fox
Golden State Warriors                                    Riot
Gpay Network Pte. Ltd.                                   Name On File
Growflint Technologies Pvt. Ltd.                         SC30 Inc.
HashKey Blockchain Investment Fund                       Name On File
HODL Media, Inc.                                         Shohei Ohtani
ICC Business Corporation FZ LLC                          Name On File
Idealex Services OU                                      Stephen Curry
IEX Group, Inc.                                          StockTwits, Inc.
iVest+                                                   Swift Media Entertainment, Inc
Name On File                                             Sygnia Consulting
Name On File                                             The MLB Network, LLC
Jeremy Cranford                                          The Sequoia Fund, L.P.
Name On File                                             Thoma Bravo
Joele Frank                                              TL INTERNATIONAL BV
Kariya Kayamori                                          TokenBot International Ltd.
Name On File                                             Tom Brady
Kevin O'Leary                                            TradingView Inc
{1368.002-W0069962.}                             2
                       Case 22-11068-JTD   Doc 23137-1    Filed 08/16/24   Page 4 of 17
Trevor Lawrence                                          Name On File
TrustToken                                               Name On File
Twig USA Inc                                             Name On File
Udonis Haslem                                            Name On File
UJH Enterprises                                          Name On File
Veridian Development Group Ltd.                          Name On File
Yahoo Inc.                                               Name On File
Yuga Labs, Inc.                                          Name On File
Customers                                                Name On File
Name On File                                             Name On File
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Name On File                                             Name On File
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Name On File                                             Name On File
Name On File                                             Name On File
Name On File                                             Name On File
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Name On File                                             Name On File
Name On File                                             Debtors
Name On File                                             Alameda Aus Pty Ltd
Name On File                                             Alameda Global Services Ltd.
Name On File                                             Alameda Research (Bahamas) Ltd
Name On File                                             Alameda Research Holdings Inc.
Name On File                                             Alameda Research KK
Name On File                                             Alameda Research LLC
Name On File                                             Alameda Research Ltd
Name On File                                             Alameda Research Pte Ltd
Name On File                                             Alameda Research Yankari Ltd
Name On File                                             Alameda TR Ltd
Name On File                                             Alameda TR Systems S. de R. L.
Name On File                                             Allston Way Ltd
Name On File                                             Analisya Pte Ltd
Name On File                                             Atlantis Technology Ltd.
Name On File                                             Bancroft Way Ltd
Name On File                                             Blockfolio, Inc.
Name On File                                             Blue Ridge Ltd
Name On File                                             Cardinal Ventures Ltd
Name On File                                             Cedar Bay Ltd
Name On File                                             Cedar Grove Technology Services, Ltd
Name On File                                             Clifton Bay Investments LLC
Name On File                                             Clifton Bay Investments Ltd
Name On File                                             Cottonwood Grove Ltd
Name On File                                             Cottonwood Technologies Ltd.
Name On File                                             Crypto Bahamas LLC
Name On File                                             DAAG Trading, DMCC
Name On File                                             Deck Technologies Holdings LLC
Name On File                                             Deck Technologies Inc.
Name On File                                             Deep Creek Ltd
Name On File                                             Digital Custody Inc.
Name On File                                             Euclid Way Ltd
Name On File                                             FTX (Gibraltar) Ltd
Name On File                                             FTX Canada Inc
Name On File                                             FTX Certificates GmbH
Name On File                                             FTX Crypto Services Ltd.
Name On File                                             FTX Digital Assets LLC
{1368.002-W0069962.}                             4
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FTX Digital Holdings (Singapore) Pte Ltd                               SNG INVESTMENTS YATIRIM VE DANIŞMANLIK ANONİM ŞİRKETİ
FTX EMEA Ltd.                                                          Strategy Ark Collective Ltd.
FTX Equity Record Holdings Ltd                                         Technology Services Bahamas Limited
FTX EU Ltd.                                                            Verdant Canyon Capital LLC
FTX Europe AG                                                          West Innovative Barista Ltd.
FTX Exchange FZE                                                       West Realm Shires Financial Services Inc.
FTX Hong Kong Ltd                                                      West Realm Shires Inc.
FTX Japan Holdings K.K.                                                West Realm Shires Services Inc.
FTX Japan K.K.                                                         Western Concord Enterprises Ltd.
FTX Japan Services KK                                                  Zubr Exchange Ltd
FTX Lend Inc.                                                          Director/Officer
FTX Marketplace, Inc.                                                  Name On File
FTX Products (Singapore) Pte Ltd                                       Name On File
FTX Property Holdings Ltd                                              Andy Fisher
FTX Services Solutions Ltd.                                            Arthur Thomas
FTX Structured Products AG                                             Name On File
FTX Switzerland GmbH                                                   Name On File
FTX Trading GmbH                                                       Can Sun
FTX Trading Ltd                                                        Caroline Ellison
FTX TURKEY TEKNOLOJİ VE TİCARET ANONİM ŞİRKET                          Caroline Papadopoulas
FTX US Services, Inc.                                                  Name On File
FTX US Trading, Inc                                                    Name On File
FTX Ventures Ltd                                                       Constance Wang
FTX Zuma Ltd                                                           Corporate & Trust Services Limited
GG Trading Terminal Ltd                                                Dan Friedberg
Global Compass Dynamics Ltd.                                           Name On File
Good Luck Games, LLC                                                   Diana Aidee Munoz Maclao De Camargo
Goodman Investments Ltd.                                               Edward Moncada
Hannam Group Inc                                                       Gary Wang
Hawaii Digital Assets Inc.                                             Name On File
Hilltop Technology Services LLC                                        Name On File
Hive Empire Trading Pty Ltd                                            Name On File
Innovatia Ltd                                                          Jen Chan
Island Bay Ventures Inc                                                John J. Ray
Killarney Lake Investments Ltd                                         John Samuel Trabucco
Ledger Holdings Inc.                                                   Jonathan Cheesman
Ledger Prime LLC                                                       Joseph J. Farnan
LedgerPrime Bitcoin Yield Enhancement Fund, LLC                        Name On File
LedgerPrime Bitcoin Yield Enhancement Master Fund                      Kariya Kayamori
LedgerPrime Digital Asset Opportunities Fund, LLC                      Name On File
LedgerPrime Digital Asset Opportunities Master Fund LP                 Larry Thompson
LedgerPrime Ventures, LP                                               Name On File
Liquid Financial USA Inc.                                              Luk Wai Chan
Liquid Securities Singapore Pte Ltd.                                   Name On File
LiquidEX LLC                                                           Name On File
LT Baskets Ltd.                                                        Mark Wetjen
Maclaurin Investments Ltd.                                             Name On File
Mangrove Cay Ltd                                                       Name On File
North Dimension Inc                                                    Name On File
North Dimension Ltd                                                    Matt Rosenberg
North Wireless Dimension Inc                                           Matthew Doheny
Paper Bird Inc                                                         Matthew Ness
Pioneer Street Inc.                                                    Name On File
Quoine India Pte Ltd                                                   Michael McCarty
Quoine Pte Ltd                                                         Michael Watson
Quoine Vietnam Co. Ltd                                                 Mitch Sonkin
{1368.002-W0069962.}                                           5
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Name On File                                                         UC Berkeley Foundation
Name On File                                                         UDONIS HASLEM CHILDRENS FOUNDATION
Name On File                                                         Insurance
Nishad Singh                                                         Ascot Insurance Company
Name On File                                                         Continental Casualty Company
Name On File                                                         Endurance Worldwide Insurance Ltd., Zurich Insurance Plc,
Name On File                                                         HDI Global Specialty SE
Name On File                                                         Lloyd’s America, Inc.
Rishi Jain                                                           Massachusetts Bay Insurance Company
Name On File                                                         Paragon International Insurance Brokers Limited
Ryan Salame                                                          QBE Insurance Corporation
Ryne Miller                                                          Relm Insurance Ltd.
Samuel Bankman-Fried                                                 StarStone National Insurance Company
Name On File                                                         The Hanover Insurance Group
Serhat Aydin                                                         The Travelers Insurance Company
Name On File                                                         Travelers Property Caualty Company of America
Shiliang Tang                                                        United Fire Group
Name On File                                                         USI Insurance Services, LLC-CL
Sina Nader                                                           Investments/Acquisitions
Name On File                                                         1Inch
Takashi Hidaka                                                       3Commas Technologies
Terence Choo                                                         5D
Name On File                                                         6529 NFT Fund
Venu Palaparthi                                                      6th Man Ventures Fund
Wang Zhe                                                             80 Acres
Wing Man Charis Law (Charis Law)                                     Acala
Wong Jing Yu                                                         AFK Ventures LLC
Zach Dexter                                                          Name On File
Zhe Wang                                                             Alder Labs
Donations                                                            Alethea
amfAR                                                                Aligned AI
Arbor Day Foundation                                                 Altimeter Growth Partners Fund VI, L.P.
Berkley Existential Risk Initiative                                  Alvea, LLC
Care for Special Needs Children Foundation                           Anchorage
Center for Effective Altruism                                        Ancient8
Clinton Health Access                                                AngelList
David Ortiz Children's Fund                                          Anthropic
Eat.Learn.Play                                                       Anysphere Inc
Eldera, Inc.                                                         Aptos
GWWC                                                                 Arcana
Honnold Foundation                                                   Archax
Hurry Up Slowly                                                      Arnac
Laureus Sport for Good                                               Arrow
Majority Forward                                                     Artemis
Managed Funds Association                                            Asymmetric Technologies LP
National Council of Social Service                                   ATMTA, Inc. / Star Atlas
New Jersey Scholars                                                  Atomic Vaults
Neworld One Bay Street - Margaritaville Beach Resort Nassau          ATTN (EVOSverse)
RESource D.C                                                         Auradine, Inc.
Rethink Priorities                                                   Aurigami / Vaus Limited
Seattle Approves                                                     Aurory
Stanford School of Medicine                                          Autograph
Stanford University                                                  Automata
Stanford University Development                                      Avara Labs / LENS
The Center for Election                                              AVECRIS Research Corporation Pte. Ltd. (Project Door)
Name On File                                                         Aver Protocol
{1368.002-W0069962.}                                          6
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Axelar Network                                                       Defi Alliance
Bastion / Bengine, Inc.                                              Delphia Holdings Corp
BetDEX                                                               Delta One
BiLira (Series A - Class E)                                          Delysium / KUROSEMI INC.
Bitmain Fund L.P.                                                    Digital Assets DA AG
Bitnob Technologies                                                  Distributed Ledger Technology
Bitnomial                                                            DLT Climate Tech
BitOasis                                                             DoDo
Bitocto (exchange Indo) / PT Triniti                                 DoinGud
Blockbeats News                                                      DoNotPay
Blockchain Space / Solutions Lab Consultancy Pte Ltd                 Doodles
Blocto                                                               Doppel Inc
Bluebook Cities                                                      Dorahack
Bond Fund III                                                        Drift
Bonzai Finance                                                       DriveWealth
Bridge Technologies (BRG Token)                                      Dropp
Brinc Drones                                                         Dtrade
Browder Capital                                                      Dune Analytics
BTC Africa, S.A., (dba AZA Finance)                                  Dust Labs, Inc
Burnt                                                                edenbrawl / Worldspark Studios, Inc
Canonical Crypto Fund                                                EFAS / Kepler Space Industries
Cardinal (Nexus Pro)                                                 Efficient Frontier / Odyssey Technologies Limited
Causal Inc                                                           Eizper Chain
CCAI / Aldin                                                         Elementus
Cega Pte Ltd                                                         Elumia
Celesita Network                                                     Equator Therapeutics
Ceres Protocol Inc / Mythos tokens                                   EquiLibre Tecnologies Inc.
Change Up                                                            Ethereal Ventures Fund I LP
chillchat                                                            Euclid Labs / Magic Eden Secondary Shares
China V Investors L.P.                                               Euler
China Venture Capital Fund                                           Evme Inc
Chingari                                                             Exodus
Chipper Cash / Critical Ideas Inc                                    exotic / Pier3 Ventures Limited
Circle Internet Financial, Inc.                                      Exponent Founders Capital I, LP
Clover                                                               Exponential DeFi Inc
Coderrect Inc.                                                       FairSide
Cogni                                                                Fanatics
Coin98                                                               Faraway
Coinfeeds / Docsi18n                                                 Fern Labs Inc
CoinMARA                                                             Few and Far
Collide Capital Fund I                                               Figma Inc
Com2Us                                                               Float Capital / Rubin Global Ltd
Composable                                                           Flourishing Humanity Corporation Ltd
Compound Financial                                                   Fluence Labs
Confirm Solutions Inc                                                Friktion
Conjecture                                                           Frosted Inc
Connect3 / Lab3 Technology Limited                                   Fuel / Layer-2 Development Corp.
Consensys                                                            FYI.FYI, Inc
Critical Ideas, Inc.                                                 Galaxy Protocol (Galxe)
Cryowar                                                              GamerGains
Curated                                                              GamesPad
DaoSqaure                                                            GENESIS DIGITAL ASSETS LIMITED
Darkfi                                                               Geniome (FBH Corporation)
Dave Inc                                                             Genopet / WITTY ELITE LIMITED
decimated                                                            GetMati
Defi                                                                 GetPIP Web3.0 / Prime Round Ltd
{1368.002-W0069962.}                                         7
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GGX Protocol Limited / GGX Token                                    Liquid Group Inc
Global Illumination                                                 Liquid Value Fund I LP
GOG (Guild of Guardians)                                            Liquity
GuildFi / CRYPTOMIND LAB PTE. LTD                                   LiveArtX
Harbor Systems Inc                                                  Loan Transactions and Technology LLC / Edge Tradeworks
Hashflow / Qflow                                                    Lonely Road
Hawku                                                               Luxon / LXN
HedgeHog                                                            Magic Eden
Helix Nanotechnologies                                              Name On File
Hidden Road Inc                                                     Manifold Markets
HODL                                                                Manta
HOLE Tokens                                                         Mask Network / MASKBOOK
http://Contxts.io / NFT Bank                                        Matonee Inc
http://Solsniper.xyz (Sniper Labs)                                  Mavia
http://tsm.gg/ (Swift Media Entertainment Inc)                      MCDEX
http://wum.bo/                                                      MEOW
https://syndica.io/                                                 Mercurial
HyperNative Inc                                                     Merge
IEX                                                                 Messari
ImmutableX Token Prorata                                            MetaLink
Impossible Finance                                                  Metaplex
Innovatia Ltd                                                       MetaTheory
IO Finnet                                                           Metaversus / Combat Lab, Inc
IOSG Fund II LP                                                     Mina
IP3 Cripco (Line Friends)                                           Mirror World
Ivy Natal                                                           MobileCoin
Jafco SV4 Investment Limited                                        Modulo Capital Inc
Jambo / Project Chill Limited                                       Mojo
Jet Protocol                                                        Momentum Safe Inc
Jet Tech                                                            MONACO / BetDEX / STRAMASH PROTOCOL LTD.
Jito Labs Inc                                                       Monkey Kingdom / Kingdom Metaverse Limited
Juiced / Basis Yield Corp                                           MonkeyBall
JUMBO.EXCHANGE                                                      Mount Olympus Capital LP
Juppiomenz                                                          Move Labs
JustWontDie Ltd                                                     MPL
K5 Global                                                           Multicoin Venture Fund II
Kariya Kayamori                                                     Multicoin Venture Fund III
Katana Labs / Blade Labs Inc                                        MultiSafe/ Coinshift
Keygen Labs, Inc                                                    Mysten Labs
Kollider                                                            Mythical Games
Kos Therapeutics Inc                                                Nas Education Pte Ltd
Kraken Ventures Fund I LP                                           NEAR
Kresus                                                              Nestcoin
KTR Group Corporation                                               New Gen Minting LLC
Kwil Inc                                                            Nifty Island
Lake Nona Fund / LN Sports & Health Tech Fund I, LP                 Nod Labs, Inc.
LayerZero                                                           NodeGuardians
LayerZero Labs Ltd                                                  Nural Capital
Lemon Cash                                                          O'daily News
Lexidus                                                             Offchain Labs
Lido                                                                Only1
Lifelike Capital                                                    Open Loot Ecosystem Fund I Ltd.
Lightspeed Faction                                                  Optim
Limit Break                                                         Orderly
Liquality                                                           OTC Service Ltd / OTC Service AG
Liquid 2 Venture Fund III L.P.                                      OTOY International
{1368.002-W0069962.}                                        8
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OVEX                                                          Sequoia Capital Fund, L.P.
Owner.com                                                     SH Fund, LP
Pacer                                                         Sherlock Bioscience
Pangea Cayman Fund I Ltd                                      Sidus
Paradigm One (Cayman) Feeder LP                               SifChain
Parallel Finance                                              Sintra
Parastate                                                     Sipher
Paraswap                                                      Size
Paxos                                                         Sky Mavis (Axie Infinity)
Pembrock                                                      Skybridge
Perion / BUZZ DEVELOPMENT INC                                 Slope
Phastasia                                                     Snickerdoodle Labs
PINE                                                          Soba Studios / Good Game Inc
Pionic (Toss)                                                 SOJ Trading Ltd (JoePEGS NFT Project)
Pixelynx                                                      Solana Restricted Token Purchase
PlanetQuest                                                   SolCial / Social Research
Platform Lifesciences Inc                                     Solend / Concurrent C Inc
Play Up                                                       SolFarm
Point                                                         Solice
Point Up                                                      Solidus
Polygon Network                                               Solrise
Pontem Network                                                Solscan
Pontis - ZK Oracle (42 Labs INc)                              SolStarter
Port Finance / Contrarian Defi LLC                            Sommelier
Pragma                                                        SperaX
Protego                                                       Spruce Systems Inc
Pstake                                                        Stacked
Psyoption                                                     Star Atlas
QP-Fund I, a series of Generalist Capital, LP                 Stargate (LayerZero)
Questbook / CreatorOS                                         Starkware
Race Capital II                                               Step Finance
Rainmaker                                                     StepN (Find Satoshi Lab)
Ratio Finance                                                 Stocktwits
Rebittance (SCI)                                              Stoke Space
Receipts Depositary Corporation                               Storybook
Red Sea Research                                              SubSocial
REF                                                           Subspace Network
Rejuveron                                                     Sugarwork
Resonant Health Inc                                           Sui Token Warrant (FTX Ventures)
Revault                                                       Sundaeswap
Rockbird LLC                                                  SupraOracle / ENTROPY PROTOCOL LTD.
Rocket                                                        Swim
Roco Finance                                                  SwitchBoard
Rok Capital Offshore Fund Ltd                                 Swoop
ROUTER PROTOCOL / Kailaasa Infotech Pte Ltd                   Symmetry
Saddle Finance / Incite Technologies Inc                      Synthetify
SahiCoin                                                      T Tauri Ltd - Token Purchase Agreement
Salad Ventures Ltd                                            Tactic / Spoak Inc
Samudai                                                       Taki Network Pte Ltd
Samuel Bankman-Fried                                          Taleverse
Satori Research                                               TaxBit
Scopely                                                       Telis Bioscience
SEBA Bank                                                     The Giving Block
SECRET Network / Enigma MPC, Inc.                             Thirdverse
SecureSave                                                    TipLink
Senate                                                        Tools For Humanity
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Tortuga                                                  FTX Capital Markets LLC
Torus                                                    FTX Derivatives Gmbh
Toy Ventures                                             FTX Digital Markets Ltd
TradeWind                                                FTX Express Pty Ltd
TripleDot                                                FTX Foundation, Inc.
TrueFi                                                   FTX Malta Gaming Services Limited
Trustless Media                                          FTX Malta Holdings Ltd.
TrySpace / SPACE Metaverse AG                            FTX Vault Trust Company
TTAC                                                     LedgerX LLC
Twilight / Cyberprep Corp                                Salameda Ltd
Umee                                                     Landlords
UVM Signum Blockchain Fund VCC                           101 Second Street, Inc.
UXD                                                      1450 Brickell, LLC
VALR Proprietary Limited                                 Albany Resort Operator Ltd.
VerifyVASP Pte. Ltd.                                     Blue Hole Real Estate Holdings Ltd.
Vibe Labs Inc.                                           Boca Pay
Virtualness Inc                                          Bond Collective
VolMex                                                   Brickwell Owner LLC
VolumeFi Software, Inc.                                  Heckler Investments (Bahamas) Ltd.
Vosbor                                                   Javari Ltd.
VOYAGER DIGITAL LTD.                                     Madison Real Estate Ltd.
VY DHARANA EM TECHNOLOGY FUND, L.P.                      Newwave Bahamas Inc.
VY SPACE                                                 S3 Ocean View Limited
VY Space II LP                                           The Executive Center
Vybe                                                     The Metropolitan Square Associates LLC
WAEV                                                     WeWork Companies LLC
Wave Mobile Money Holdings                               W-SF Goldfinger Owner VIII, L.L.C.
Wordcel                                                  Litigation
Xdefi                                                    Name On File
X-Margin                                                 Different Rules, LLC
Xterio                                                   Name On File
Yuga Labs (BAYC)                                         Group One Holdings Pte Ltd
Zebec                                                    Name On File
Zenlink                                                  Marisa Mcknight
zero one                                                 ONE Studios Pte Ltd
Zeta                                                     Ordinary Course Professionals
ZKlend / BLUE HORIZON GLOBAL CORP                        ABNR
ZKX / LTIC, Inc.                                         Anderson Mori & Tomotsune
ZRO (LayerZero)                                          Anthony Astaphan
Zubr Exchange Ltd                                        Antis Triantafyllides
Joint Provisional Liquidators                            Appleby
Brian C. Simms                                           ARIFA
Holland & Knight LLP                                     Armanino LLP
Kevin G. Cambridge                                       Arthur Cox
Peter Greaves                                            Baker McKenzie
Richards, Layton & Finger, P.A.                          Baptista Luz
White & Case                                             Bär & Karrer
Known Affiliates - JV                                    Binder Grösswang
Alameda Systems Inc.                                     BlackOak
Blockfolio Holdings, Inc.                                Clayton Utz
CM-Equity AG                                             Clement Maynard & Co
Concedus Digital Assets                                  CMS Legal - Italy
Embed Clearing LLC                                       Covington & Burling LLP
Embed Financial Technologies Inc                         Durukan Partners
FTX Australia Pty Ltd                                    Fenwick & West
FTX Bahamas Ventures Ltd                                 Gibson Dunn
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Gorriceta Africa Cauton & Saavedra                                    Bahamas Electricity Corporation (BEC)
Hadef & Partners                                                      Bahamas Environment Science and Technology Commission (BEST)
Hogan Lovells                                                         Bahamas Investment Authority
Kim & Chang                                                           Bahamas Trade Commission
King & Spalding LLP                                                   Bahamasair Holding Ltd
King Wood Mallesons                                                   Bank of The Bahamas
Kramer Levin                                                          Bo Fears
Latham & Watkins                                                      Brandi Smith
Lenz & Staehelin                                                      Brock Jensen
Lexcomm Vietnam                                                       Bryan Hsueh
Loyens&Loeff                                                          Business Licence - Valuation Unit (Bahamas)
McCarthy Tetrault                                                     Campbell McLaurin
MLL Meyerlustenberger Lachenal Froriep Ltd                            Catherine Reyer
Nishit Desai                                                          Central Bank of The Bahamas
Norton Rose                                                           Christopher German
Olaniwun Ajayi                                                        Clifford Charland
Peter Maynard                                                         Commodity Futures Trading Commission
Piper Alderman                                                        Compliance Commission (Bahamas)
Prager Metis CPA's, LLC                                               Corey Krebs
Ronny Domröse                                                         Craig Christensen
Schurti Partners                                                      Cyprus Securities and Exchange Commission
Shardul Amarchand Mangaldas                                           Danielle Sassoon
Silicon Valley Accountants                                            David Berland
Slaughter & May                                                       David Buchalter
TSN LIMITED                                                           David O’Brien
Walkers                                                               David Venerables
WilmerHale                                                            Delaware State Treasury
Other Significant Creditors                                           Department of Insurance and Financial Services
BITVO Inc.                                                            Department of Justice - Computer Crime and Intellectual Property
Celsius Network LLC                                                   Section
FTX Ventures Partnership                                              Department of Justice - National Crypto Currency Enforcement Team
Significant Competitors                                               Department of Justice - Southern District of New York
Binance                                                               Department of Justice - US Attorney Southern District of Florida
BlockFi, Inc.                                                         Department of Labour (Bahamas)
Coinbase                                                              Department of Local Government (Bahamas)
Crypto.com                                                            District of Columbia Department of Insurance, Securities and
Gemini                                                                Banking
Kraken                                                                Drew Stillman
KuKoin                                                                Dubai Virtual Assets Regulatory Authority
Surety & Letters of Credit                                            Dustin Physioc
Lockton Insurance Brokers, LLC                                        Elizabeth Pendleton
Philadelphia Indemnity Insurance Company                              Erin Wilk
RLI Insurance Co.                                                     Ethan McLaughlin
Sompo International                                                   Financial Intelligence Unit (Bahamas)
Taxing Authority/Governmental/Regulatory Agencies                     FINMA SRO-Treuhand Suisee
Alaska Department of Commerce, Community, and                         Florida Office of Financial Regulation
Economic Development                                                  Georgia Department of Banking and Finance
Amber Eutsey                                                          Gibraltar Financial Services Commission
Anne Cappelli                                                         Hawaii Department of Commerce and Consumer Affairs
Arizona Department of Insurance and Financial Institutions            Hong Kong Securities & Futures Commission
Arkansas Securities Department                                        House Committee on Oversight and Reform
Aurora Fagan                                                          Idaho Department of Finance
Bahamas ACP Secretariat                                               Illinois Department of Financial and Professional Regulation
Bahamas Agricultural & Industrial Corporation (BAIC)                  Ingrid White
Bahamas Bureau of Standards and Quality (BBSQ)                        Internal Revenue Service
Bahamas Development Bank                                              Iowa Division of Banking
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Iris Ikeda                                                                  Securities Commission of The Bahamas
Jack McClellan                                                              South Dakota Division of Banking
James Westrin                                                               State of Connecticut Department of Banking
Japan Financial Services Agency                                             Stephanie Ryals
Jason Gworek                                                                Steven Buchholz
Jay Kim                                                                     Supreme Court (Bahamas)
Jeanju Choi                                                                 Tammy Seto
Jeffrey Loimo                                                               Texas Department of Banking
Jennifer Biretz                                                             Thane Rehn
Jesse Moore                                                                 The Department of Inland Revenue (Bahamas)
Jesse Saucillo                                                              The Foreign Account Tax Compliance Act (FATCA) (Bahamas)
Jessica Peck                                                                The National Insurance Board
Jesus (/Jesse) Saucillo                                                     Tom Stevens
Jonathan Misk                                                               Treasury Department (Bahamas)
Jonathan Vruwink                                                            Utilities Regulation & Competition Authority (URCA) (Bahamas)
Karyn Tierney                                                               VAT Bahamas
Kelley Reed                                                                 Vermont Department of Financial Regulation
Kevin Webb                                                                  Virginia Bureau of Financial Institutions
Kristen Anderson                                                            Washington State Department of Financial Institutions
Kristin Rice                                                                Zak Hingst
Lucinda Fazio                                                               U.S. Trustee Office
Mark Largent                                                                Andrew R. Vara
Maryland Department of Labor                                                Benjamin Hackman
Matthew Dyer                                                                Christine Green
Michigan Department of Insurance and Financial Services                     Denis Cooke
Ministry of Finance (Bahamas)                                               Diane Giordano
Ministry of Works and Utilities (Bahamas)                                   Dion Wynn
Monetary Authority of Singapore                                             Edith A. Serrano
Nebraska Department of Banking and Finance                                  Hannah M. McCollum
New Jersey Department of Banking and Insurance                              Holly Dice
New York Department of Financial Services                                   James R. O'Malley
Nicolas Roos                                                                Jane Leamy
Nina Ruvinsky                                                               Joseph Cudia
North Carolina Department of Commerce                                       Joseph McMahon
North Carolina Department of Justice                                        Juliet Sarkessian
North Dakota Department of Financial Institutions                           Lauren Attix
Office of Internal Audit (Bahamas)                                          Linda Casey
Office of the Attorney General & Ministry of Legal Affairs (Bahamas)        Linda Richenderfer
Office of the Auditor General (Bahamas)                                     Michael Panacio
Office of the Data Protection Commissioner (Bahamas)                        Nyanquoi Jones
Office of the Prime Minister (Bahamas)                                      Ramona Harris
Ohio Department of Commerce                                                 Richard Schepacarter
Ontario Securities Commission                                               Rosa Sierra-Fox
Oregon Division of Financial Regulation                                     Shakima L. Dortch
Patricia Straughn                                                           Timothy J. Fox, Jr.
Paul Balzano                                                                UCC Members
Peter Frank                                                                 Acaena Amoros Romero
Peter Marton                                                                Coincident Capital International, Ltd.
Registrar Generals Department (Bahamas)                                     Epsilon Trading
Rhode Island Department of Business Regulation Financial Services           GGC International Ltd.
Richard Childers                                                            Larry Qian
Samuel Fuller                                                               Octopus Information Ltd.
Samuel Raymond                                                              Pulsar Global Ltd.
Sara Cabral                                                                 Wincent Investment Fund PCC Ltd.
Secretary of State                                                          Wintermute Asia PTE. Ltd.
Securities and Exchange Commission                                          Zachary Bruch
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UCC Professionals                                              Bond Collective
Hunton Andrews Kurth LLP                                       Brasil Motorsport
Utilities                                                      Braze
AT&T                                                           Brex Credit Card
Comcast                                                        Brinc Drones
Comcast Business                                               BSO Network Solutions Ltd
Magic Jack                                                     BTIG
Ooma Inc.                                                      Bullish Studios
Verizon Wireless                                               Burgopak
Wiline Networks, Inc.                                          CAA Sports - Shohei Ohtani
Vendors                                                        CAF America
101 Second Street, Inc.                                        Canopy Labs
1Password                                                      Canopy RE, Inc
2000 CENTER STREET LLC                                         Center for Applied Rationality
ABG Shaq LLC                                                   Chainalysis Inc.
Abundantia Creative Llp                                        Chartwell
ADAM                                                           CHICAGO MERCANTILE EXCHANGE INC.
Adobe Systems Inc.                                             Cloudflare Inc
Aerobic Design LLC                                             Coachella
Ai Safety Support Ltd                                          Coindesk
AIRBNB                                                         CoinMara SAFE
Akin Gump Strauss Hauer & Feld LLP                             COJO Strategies
Aliyun.com                                                     Colormatics
Amazon                                                         Commercial Loan Clearing
Amazon Web Services (AWS)                                      Conaway Graves Group
American Express                                               Conde Nast
Amiba Consulting                                               Congressional Leadership Fund
Amplitude                                                      Corporate & Trust Services
Amwins                                                         Creators Agency LLC
Anderson Kill LLP                                              Crypto Council for Innovation
Anderson Mori & Tomotsune (Japan)                              CSL MOBILE LIMITED HONG KONG
Andy Fisher                                                    Dara Studios
Apple Inc.                                                     DATADOG, INC.
Apple Search Ads                                               Deacons Lawyers
APPSFLYER INC|C-Corp                                           Denstu McGarry Bowen
Armanino                                                       Dentsu X
Association for Digital Asset Management, Inc.                 Diablo Holdings - 2000 Center
Atlassian Pty Ltd                                              Digital Finance Group Co.
Audio Kinetic                                                  DJ Bam LLC - Sunjay Matthews
Auradine, Inc.                                                 Dlocal LLP
AVARA LABS CAYMAN HOLDINGS SEZC                                DLT Climate Tech, Inc.
Name On File                                                   Done Deal Promotions
AWS                                                            Door Dash
AYG Sales                                                      DoorDash US
Azora LLC                                                      Dotdash
Bally Sports Sun                                               Drawn Sword Limited
Baquet Pty Ltd                                                 Duane Morris LLP
Barstool Sports, Inc                                           E3 Technology, Inc.
Basketball Properties Ltd                                      Elite Protection LLC
Bhouse USA LLC                                                 Elwood
BitGo                                                          Emerson Estate
Bleacher Report - Warner Media                                 Emerson Land Company
Blockchain Australia                                           Emondo design, vl. Ivana Milicic.
BlockScore, Inc.                                               Epik Holdings Inc
Bloomberg                                                      Equinix
Boca FIA Conference                                            Equinix - JPY
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Equinix INC                                                 Investing Made Simple
Equinox Group LLC                                           Invisible North
Equity and Transformation                                   ipower
Eventus Systems, Inc.                                       Isbl International Specialty Brokers Limited
EVERYWHERE WIRE                                             Jetstream Partners Limited
Excel Sports Management                                     JLL Law Firm
Facebook/Meta                                               Name On File
FACTORY PR LLC                                              Jorge Luis Lopez Law Firm
Fast Forward                                                Jumio Corporation
Federal Trade Commission FTC                                Justworks
FEDEX                                                       Kandji
Fenwick & West                                              Katten Muchin Rosenman LLP
Fenwick & West - FTX Trading Ltd                            Kevin Haeberle
Fenwick & West - FTX US                                     Kim & Chang
Flatiron Labs, Inc.                                         King and Wood Mallesons (HK)
Florida International University Foundation                 Latham & Watkins LLP
Flutterwave                                                 Learfield
Food Panda                                                  Ledger & Cobie Enterprises dba UpOnly
FOX BROADCASTING COMPANY                                    LedgerX LLC
Fox Sports                                                  Leo Trippi SA
FULL COURT PRESS COMMUNICATIONS, INC                        Name On File
Fullstory                                                   Lexis Nexis
Functional Software Inc, dba Sentry                         Liftoff Mobile, Inc.
Furia ESports LLC                                           Light the Way - The Campaign for Berkeley
Futures Industry Association                                Limit Break
GameStop                                                    Lincoln Place Inc.
GB Solutions - Geoff Bough                                  Lockton Insurance Brokers, LLC
Gibson, Dunn & Crutcher LLP                                 Looker (Google LLC)
GitHub                                                      Lorem Ipsum - AP
Glushon Sports Management                                   Lowenstein Sandler LLP
GoDaddy                                                     Lunch Money Group Inc - Anthony Pompliano
Golden State Warriors                                       M Group
Golden State Warriors Community Foundation                  Maerki Baumann Und Co.
Goldfinger                                                  Mammoth Media, Inc.
Google                                                      Max Maher Show LLC
Google Cloud Platform                                       Maxlaw Global
Grafit Studios - Roman Tulinov Pe                           Mayfield XV
Grafted Growth                                              McCarthy Tetrault
Grand Prix Tickets                                          McGarry Bowen, LLC
Group One Holdings                                          Medium Rare Live
Gusto                                                       Mercedes-Benz Grand Prix Limited
HashPort Inc.                                               Message Global
Name On File                                                Meta Platforms, Inc.
Herman Miller Design                                        MG Trust
Hogan Lovells International LLP                             Miami Dade County
Honeycomb                                                   Miami Heat Limited Partnership
Hotels.com                                                  Name On File
I2C In.                                                     MicroLedgers
ICC                                                         Microsoft
IFS Markets                                                 Microsoft Advertising
IKOABD LLC                                                  Microsoft Online Inc
Inca Digital, Inc                                           MLB Advanced Media
INCO, LLC                                                   Name On File
India Strategic Partnership Inc.                            Monumental Sports and Entertainment Foundation
Insight Direct USA Inc                                      Moon Overlord
insight software CO                                         Mooncolony Ltd
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Morgan Lewis                                                  Robert Lee & Associates, LLP
Morrison and Foerster LLP                                     Roku
MPG Live                                                      Name On File
NA League of Legends Championship Series LLC                  Ruin the Game Events
Naomi Osaka                                                   Ryan Salame
nCipher Security                                              SafetyPay
Name On File                                                  Saigon Dragon Studios
Neodyme                                                       Salameda Capital LTD
Nerd St. Gamers                                               Name On File
New Revolution Media                                          SALT Venture Group LLC
Nifty Metaverse Inc                                           Sardine Ai
Nishith Desai Associates                                      Sc30 Inc.
NJ Scholars                                                   Scratchy Productions, Inc.
NP Digital                                                    Sentry
NYSE                                                          Sequor Trends Limited|Foreign Vendor
Office Revolution                                             Serendipity Consulting
OIC of South Florida                                          Shadow Lion
O'Leary Productions Inc.                                      Sidley Austin LLP
One Workplace L. Ferrari                                      Sierra Wireless
Open Fortune - Fortune Media                                  Signature Bank
OPUS Partners Co. Ltd                                         Siimpl - Firesight Technologies
Orrick, Herrington & Sutcliffe LLP                            Silver Miller
Osaka Exchange                                                Skadden, Arps, Slate, Meagher & Flom LLP
Osler, Hoskin & Harcourt LLP                                  Skyline Construction
OtterSec LLC                                                  Slack Technologies, Inc
PCCW Netvigator Now                                           Snap Inc
Perkins Coie LLP                                              Sol Stores
Pickle Software LLC                                           Solana Spaces
Piper Alderman Law                                            Solidus Labs
Plaid Financial Ltd.                                          Spiralyze LLC
Play Magnus AS                                                SSB Trust
Playground Ventures                                           Stanford Law School
Playup Limited                                                Stripe, Inc.
Pomp Podcast - Lunch Money Group                              Sullivan & Cromwell LLP
Pricewater House Coopers LLP                                  Swift Media Entertainment - TSM FTX
Prime Trust LLC                                               Swift Media Entertainment Inc.
Print Run Promotions LTD                                      TagNitecrest Ltd
Printfection                                                  Takashi Hidaka
ProCo Global, Inc. d/b/a Chartwell Compliance                 Takedown Media
PSYOP Productions LLC                                         Talent Resources Sports
PWC - S.A. Evangelou and Co LLC                               TaxBit
QReg Advisory Limited                                         Teknos Associates LLC
Quicknode                                                     Tevora
Quinn Emanuel Urquhart & Sullivan, LLP                        The Block Crypto
R8G UK Limited                                                The Drop Media
Rational 360                                                  The Drop NFT Media, Inc
Raybloch                                                      The Executive Centre
Reddit                                                        The Executive Centre Singapore Pte Ltd
Redmond Construction Group                                    THE GOODLY INSTITUTE
Refactor Capital                                              The Metropolitan Museum of Art
Refinitiv                                                     The Working Policy Project
Refinitiv US, LLC                                             Thirdverse, Co, Ltd
Revolut Ltd                                                   TigerWit
Rich Feuer Anderson                                           TikTok
Rippling                                                      Time Magazine
Rivers & Moorehead PLLC                                       Time Magazine UK LTD
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Name On File                                             USI
Name On File                                             Valuz LLP
TL International                                         VARA
TONGLE X LLC                                             Name On File
Top Drawer Merch                                         VKR Insights
TOP Worldwide, LLC                                       Wasserman
TransPerfect (Chancery Staffing)                         Wasserman - Operating
Treasury Forfeiture Fund                                 Wasserman Client Trust
Tribe Payments Ltd                                       We Are One World
Trident                                                  Weekly Open
TriNet                                                   West Realm Shires Services Inc
Trip Actions, Inc.                                       West Realm Shires, Inc. WRS
Triton One Limited                                       WH Sports
TRM Labs, Inc.                                           Wifi Bread
Turner Digital AD Sales (INC)                            William Trevor Lawrence dba MMBOC, LLC
Twilio                                                   Willkie Farr & Gallagher LLP
Twitter                                                  WME Entertainment
Two More Glasses                                         Wondros
UBS Financial Services Inc                               W-SF Goldfinger Owner VIII, LLC
UJH Enterprise, Inc                                      XReg Consulting- GBP
Underground Creative                                     Name On File
United Healthcare




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